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                                  EXHIBIT LIST

   NUMBER            DESCRIPTION

   1.                2003-2004 Enrollment Contract

   2.                2003-2004 Community Handbook

   3.                November 3, 2003 Letter

   4.                March 12, 2004 Letter

   5.                May 25, 2004 Investigation Memo

   6.                Cheezy.com Page

   7.                June 1, 2004 Letter

   8.                Academic Transcript

   9.                Permission to Release School Records Form

   10.               Case - Poydras v One West Bank

   11.               Case - Waris v Frick

   12.               Case – Rodriguez v Due Process of Michigan, Inc.

   13.               Case – Kaul v Raina

   14.               Case - Jersevic v Kuhl

                     Michael Dupree, Jr. Deposition Transcript

                     Darlene Dupree Deposition Transcript

                     John Winter Deposition Transcript

                     Charles Shaw Deposition Transcript

                     Michael Dupree, Sr. Deposition Transcript

                     Arlyce Sierbert Deposition Transcript

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